      Case 2:19-cr-00448-DLR Document 153 Filed 10/16/23 Page 1 of 3




1    NCP Law PLLC
     3200 N. Central Ave., Suite 2550
2    Phoenix, AZ 85012
     Telephone: (602) 428-3010
3    Andrea S. Tazioli (# 026621)
     andrea@ncplawyers.com
4
     Attorneys for Defendant James B. Panther, Jr.
5

6                       IN THE UNITED STATES DISTRICT COURT
7                             FOR THE DISTRICT OF ARIZONA
8
                                                       Case No. CR-19-00448-PHX-DLR-2
9 United States of America,
                                                       STIPULATION AND JOINT
10                                                     MOTION TO CONTINUE
                                Plaintiff,
11                                                     RESTITUTION HEARING
                  v.                                   SCHEDULED FOR NOVEMBER 8,
12                                                     2023 AT 1:30 PM FOR A PERIOD
                                                       OF NINETY DAYS
13 James B. Panther, Jr.;

14                              Defendant.
15

16
            Plaintiff, United States of America, by and through D. Brittain Shaw, United
17   States Department of Justice (the “Government”), and Defendant James B. Panther Jr.
18   (“Mr. Panther”), by and through undersigned counsel, hereby stipulate and jointly move
19   this Court for an order continuing the restitution hearing currently scheduled for
20   Wednesday, November 8, 2023 at 1:30 p.m. before the Honorable Douglas L. Rayes, for
21   a period of ninety days to a date on or after February 8, 2024.
22          The Government has been working to recover monies from overseas accounts,
23   which may reduce or negate the amount of restitution that Mr. Panther owes in this
24   matter. As of the date of the filing of this Stipulation and Joint Motion, the Government
25   has informed that they have sent their MLAT request to repatriate the funds, and they are

26   still awaiting a response, which may take several months. Given that the amount of

27   restitution cannot be determined by the time of the currently scheduled restitution

28   hearing, conducting the restitution hearing currently set for November 8, 2023 at 1:30
     #62160.1
      Case 2:19-cr-00448-DLR Document 153 Filed 10/16/23 Page 2 of 3




1    p.m. would not be a productive use of this Court’s time and resources and would not

2    result in an accurate restitution amount to be paid by Mr. Panther.
            Therefore, and for the reasons stated above, the parties respectfully request that the
3
     Court continue the restitution hearing currently scheduled for November 8, 2023 at 1:30
4
     p.m. to a date and time on or after February 8, 2024.
5
            RESPECTFULLY SUBMITTED this 16th day of October 2023.
6
                                                    NCP Law, PLLC
7
                                                    3200 N. Central Avenue, Suite 2550
8                                                   Phoenix, Arizona 85012
9

10                                                  By:
                                                          Andrea S. Tazioli (#026621)
11                                                        Attorneys for Defendant James B.
                                                          Panther, Jr.
12

13                                                   United States Department of Justice
                                                     1400 New York Ave.
14                                                   Washington, DC 20005
15

16                                                   By: /s/ D. Brittan Shaw (with permission)
                                                         D. Brittain Shaw
17                                                       Attorneys for Plaintiff
18

19

20

21

22

23

24

25

26

27

28
     #62160.1
      Case 2:19-cr-00448-DLR Document 153 Filed 10/16/23 Page 3 of 3




1                                  CERTIFICATE OF SERVICE

2
            I certify that on the 16th day of October 2023, I electronically transmitted the
3
     foregoing document to the Office of the Clerk of the Court, using the CM/EFC System,
4
     for filing and for transmittal of a Notice of Electronic Filing to the CM/EFC registrants
5
     on record.
6
            I further certify that I sent this document via email to Assistant United States
7    Attorney     Deborah       Brittain   Shaw   at    the    following    email    address:
8    Brittain.Shaw@usdoj.gov
9           I further certify that I sent this document via email to US Probation Officer Lisa
10   Cabe at the following email address: Lisa_Cabe@casp.uscourts.gov
11

12   /s/ Andrea S. Tazioli___
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     #62160.1
